         Case 3:23-cv-21306-ZNQ Document 9 Filed 12/07/23 Page 1 of 2 PageID: 588




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Local Counsel for the Plan Administrator


                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY



                                                          Chapter 11
    In re:
                                                          Case No. 22-19361 (MBK)
    BLOCKFI INC., et al.,
                                                          Jointly Administered under a Confirmed Plan2
                                    1
                            Debtors.

    CAMERON WYATT,                                        Civil Action No.: 3:23-cv-21306-ZNQ

                            Appellant,

    v.

    BLOCKFI INC., et al.,

                            Debtors-Appellees.


                         NOTICE OF MOTION FOR AN ORDER
             ADMITTING GEORGE W. HICKS, JR., ESQ. TO APPEAR PRO HAC VICE

TO:          PARTIES ON THE COURT’S ELECTRONIC MAIL NOTICE LIST



1
          The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC. (2487); BlockFi Lending LLC (5017); BlockFi
Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products
LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Debtors’ service
address is 100 Horizon Center Blvd., 1st and 2nd Floors, Hamilton, NJ 08691.
2
          On October 3, 2023, the Court entered an order confirming the Third Amended Joint Chapter 11 Plan of
BlockFi Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (Additional Technical
Modifications). [Docket No. 1609]
   Case 3:23-cv-21306-ZNQ Document 9 Filed 12/07/23 Page 2 of 2 PageID: 589




       PLEASE TAKE NOTICE that on a date to be determined by the Court, BlockFi, Inc., et

al. (“Debtor-Appellees”) shall apply, pursuant to Local Civil Rule 101.1(c), before the Honorable

Zahid N. Quraishi, United States District Court for the District of New Jersey, at the Clarkson S.

Fisher Building & U.S. Courthouse, 402 East State Street, Room 5W, Trenton, NJ 08608, for entry

of an Order admitting George W. Hicks, Jr., of the law firm Kirkland & Ellis LLP, counsel for

Appellees in this proceeding, Pro Hac Vice on behalf of Appellees in the pending matter.

       PLEASE TAKE FURTHER NOTICE that in support of this Motion, Appellees will rely

upon the declarations of Donald W. Clarke and George W. Hicks, Jr. submitted herewith.

       PLEASE TAKE FURTHER NOTICE that Appellees do not request the opportunity to

present oral argument in support of this Motion.

       PLEASE TAKE FURTHER NOTICE that a proposed order granting the relief requested

is submitted herewith.

Dated: December 7, 2023                      Respectfully submitted,

                                             GENOVA BURNS LLC

                                             By: /s/ Donald W. Clarke
                                             Donald W. Clarke, Esq.
                                             110 Allen Road, Suite 304
                                             Basking Ridge, NJ 07920

                                              Counsel for the Plan Administrator on behalf of
                                              Debtor-Appellees
